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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
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Molly C. Dwyer
Clerk of Court                           April 10, 2018


       No.:                    18-15613
       D.C. No.:               3:16-cv-08277-DLR
       Short Title:            Michael Brosnahan v. Caliber Home Loans, Inc., et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.

       Appellants who are filing pro se should refer to the accompanying
       information sheet regarding the filing of informal briefs.
